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                         UNITED STATES BANKRUPTCY COURT

                                            FOR THE

                            EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

     In the Matter of:
                                                   Chapter 13
     MICHELLE NAOMI CAMPBELL-THOMAS
                                                   Case No. 07-11516-RGM

                           Debtor

             OBJECTION TO CONFIRMATION OF MODIFIED PLAN,
         NOTICE OF OBJECTION TO CONFIRMATION OF MODIFIED PLAN
                                  AND
            NOTICE OF SCHEDULED HEARING ON THIS OBJECTION

     Gerald M. O’Donnell, Chapter 13 Trustee, has filed this objection to confirmation of
     your Modified Chapter 13 Plan filed August 27, 2007. The cause for this objection is
     as follows:
            Violation of 11 U.S.C. 109(e) - Secured debt exceeds the statutory limit.

            Violation of the feasibility provisions of 11 U.S.C. 1325(a)(6) - No financial
            support for the projected increase of $2,400.00 per month at the end of the first
            12 months.

            Your rights may be affected. You should read these papers carefully and
     discuss them with your attorney, if you have one in this bankruptcy case. (If you
     do not have an attorney, you may wish to consult one.)
            If you do not wish the court to grant the relief sought in the objection, or if you
     want the court to consider your views on the objection, then on or before five business
     days prior to the hearing date, you or your attorney must:
            File with the court a written response with supporting memorandum as required
            by Local Bankruptcy Rule 9013-1(H). Unless a written response and
            supporting memorandum are filed and served by the date specified, the Court
            may deem any opposition waived, treat the motion as conceded, and issue an
            order granting the requested relief without further notice or hearing. If you mail
            your response to the court for filing, you must mail it early enough so the court
            will receive it on or before the date stated above. You must mail a copy to the
            persons listed below.
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     Notice of Objection To Confirmation
     Michelle Naomi Campbell-Thomas, Case # 07-11516-RGM


            Attend the hearing to be held on October 24, 2007 at 9:30 a.m. in Courtroom
            #3 on the 3rd floor, United States Bankruptcy Court, 200 South Washington
            Street, Alexandria, Virginia 22314. If no timely response has been filed
            opposing the relief requested, the court may grant the relief without holding a
            hearing.

            A copy of any written response must be mailed to the following persons:

                                   Gerald M. O’Donnell
                                   211 North Union Street, Ste, 240
                                   Alexandria, VA 22314

                                   Clerk of the Court
                                   United States Bankruptcy Court
                                   200 South Washington Street
                                   Alexandria, VA 22314


             If you or your attorney do not take steps, the court may decide that you do not
     oppose the relief sought in the motion or objection and may enter an order granting that
     relief.

     Date: _September 25, 2007______                      ___/s/ Gerald M. O’Donnell_____
                                                          Gerald M. O’Donnell
                                                          Chapter 13 Trustee
                                                          211 North Union Street, Ste. 240
                                                          Alexandria, VA 22314
                                                          (703) 836-2226
                                                          VSB 7930

                                 CERTIFICATE OF SERVICE

     I hereby certify that I have this 25th day of September, 2007, mailed a true copy of the
     foregoing Objection to Confirmation, Notice of Objection and Notice of Hearing to the
     following parties.

     Michelle Naomi Campbell-Thomas               Nathan Fisher, Esq.
     Chapter 13 Debtor                            Attorney for Debtor
     43118 Rocky Ridge Ct.                        3977 Chain Bridge Rd., #2
     Leesburg, VA 20176                           Fairfax, VA 22030


                                                          __/s/ Gerald M. O’Donnell______
                                                          Gerald M. O’Donnell
